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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

                                                     :
 EDWARD R. FLYNN, DOUGLAS J.                         :
 ABBOTT, GENE E. DAISEY, and                         :   Case No: 2:17-cv-4806-WB
 CATHERINE HOSICK, Individually and on               :
 behalf of all others similarly situated,            :
                                                     :
                           Plaintiffs,               :
                                                     :
                v.                                   :
                                                     :
 MANUFACTURERS AND TRADERS                           :
 TRUST COMPANY a/k/a M&T BANK,                       :
                                                     :
                           Defendant.                :
                                                     :

               STATUS REPORT OF MANUFACTURERS AND TRADERS TRUST
                             COMPANY a/k/a M&T BANK

            In accordance with the Court’s June 2, 2020 Order [D.I. 198], Defendant Manufacturers

and Traders Trust Company a/k/a M&T Bank (“M&T”), by and through its undersigned counsel,

hereby submits this Status Report and Proposed Case Management Order.

     I.        Settlement Efforts & the Filing of the Chapman Action

            For the better part of a year, M&T has engaged in good faith settlement negotiations with

Plaintiffs Edward R. Flynn, Douglas J. Abbott, Gene E. Daisey, and Catherine Hosick

(“Plaintiffs”) in an effort to amicably resolve this matter.        While the parties were making

considerable progress, a settlement was unable to be reached after a second mediation session.

            Immediately after that mediation, and while the parties were considering whether a third

session would be fruitful, counsel for Plaintiffs informed M&T that he was filing a largely

duplicative case against M&T in the Southern District of New York captioned as Chapman v.

Manufacturers and Traders Trust Company, a/k/a M&T Bank, 1:30-cv-02372 (the “Chapman




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Action”). A true and correct copy of the Complaint filed in the Chapman Action is attached

hereto as Exhibit A.

       Indeed, counsel has all but admitted the substantial overlap by promptly asking

permission from presiding Judge Jed S. Rakoff to use all confidential discovery produced in

Flynn in support of the plaintiffs’ claims in Chapman -- a request that was summarily denied.

Specifically, there, as here, the plaintiffs challenge M&T’s Notices of Repossession and Post-

Sale Notices for a class of Pennsylvania borrowers, claiming that the notices violated the UCC,

both independently and in pari materia with the MVSFA. See Ex. A at ¶¶ 2, 101. Many of the

allegations in Chapman are near verbatim recapitulations of the allegations here, with the

plaintiffs making the same allegations regarding the same “Storage Expenses”, “‘Prepare/Repair

Fees,’” “Redemption Fee[s], Personal Property Fee[s], and Administrative Fee[s]” that form the

basis of this action. See Ex. A at ¶¶ 74-85, 93-99.

       The filing of the Chapman case is clearly an attempt to circumvent this Court’s Order

barring Plaintiffs from any further amendment of their claims. See April 13, 2018 Order at D.I.

55 (“Plaintiff shall not be afforded any further amendment”). Not only has Plaintiffs’ counsel

violated the first-filed rule by re-alleging the same exact Pennsylvania claims in another court,

but counsel did so in order to redefine and significantly expand the class definitions pled in

plaintiffs’ Second Amended Complaint, and to add purported additional factual bases for the

causes of action already pled in the instant action.     These facts alone highlight Plaintiffs’

transparent attempt to circumvent this Court’s bar on further amendments.         Further, while

Plaintiffs had complete control over where to file the Chapman complaint, that complaint

contained a footnote requesting that Champan be transferred and consolidated with the Flynn




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action – perhaps hoping that no one would notice Plaintiffs’ attempted end run around this

Court’s April 13, 2018 Order.

         Further, not only are the claims the same, but the putative classes substantially overlap as

well – with every single member of Plaintiffs’ proposed putative class in Flynn being a member

of counsel’s proposed putative class in Chapman. In fact, the two representative plaintiffs for

the Pennsylvania class in Chapman, are members of counsel’s proposed Flynn putative class.

         M&T has filed a motion to dismiss in Chapman, which remains pending before the

Court. A true and correct copy of M&T’s Motion to Dismiss (without exhibits) is attached

hereto as Exhibit B.

         In an effort to move the instant matter forward in an expeditious and efficient manner,

M&T has outlined the most pressing issues and its proactive efforts to address the same.

   II.      Sample Discovery

         M&T has repeatedly requested that Plaintiffs provide it with a complete list of the

documents and information that Plaintiffs contend should be subject to sampled discovery. To

date, Plaintiffs have refused to provide a concrete answer despite the fact that M&T has

produced, inter alia, (i) all responsive loan documents, notices, reports, invoices, etc., in its

possession relating to the named plaintiffs, (ii) spreadsheets containing all information contained

in all data fields in all relevant systems relating to the named plaintiffs, (iii) all manuals and user

guides in M&T’s possession relating to those systems, (iv) all policies and procedures in M&T’s

possession that have been requested and (v) all vendor agreements in M&T’s possession that

have been requested.

         As such, in an attempt to timely move this matter forward in an efficient manner, M&T

has presented Plaintiffs with what it believes to be a reasonable and proportionate proposal



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regarding the putative class sampling, consistent with the Court’s prior orders regarding the

same.

           A. Method of Selecting Sampled Accounts

        First, as the Court is aware, on M&T has already submitted its six lists of potential class

members from which the sample may be drawn. See D.I. 151. These lists were submitted in

accordance with the Court’s May 28, 2019 Order after substantial briefing, including expert

reports, were submitted by the parties. See May 28, 2020 Order at D.I. 174, p. 3; see also D.I.

190 (denying Plaintiffs motion for reconsideration). In order to take into account the passage of

time since the prior lists were submitted, however, M&T has offered to provide the Court with

updated lists from which the Court (subject to its willingness to do so, of course) can use a

random number generator (as Plaintiffs suggest) to select, from each of the six lists, 10% of

accounts for sample discovery. On June 19, 2020 at 10:43 pm, Plaintiffs advised that they were

“generally in agreement” with M&T’s proposal for selecting sampled accounts, “subject to

having a brief discussion with the Court regarding some of the outstanding issues that [were]

repeatedly discussed without resolutions.” As an example, Plaintiffs asked for confirmation that

the sampling will treat accounts with co-borrower’s as one “account.” M&T, however, already

confirmed this treatment, see Ltr. dated Feb. 7, 2019 (“M&T agrees to the proposal in your first

letter of February 5th that accounts with co-borrowers only be listed once”), and the six lists

submitted to the Court were done so on that basis. As such, M&T is unclear what “outstanding

issues” regarding the selection process for the sampled accounts Plaintiffs believe require a

conference with the Court.




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            B. Documents and Information Subject to Sampling

       Second, for each account selected via the above procedure, M&T has proposed to provide

the following documents and information in its possession to Plaintiffs - all of which are specific

documents, or categories of information, Plaintiffs have specifically requested be produced as

part of any sampling1:

       1.      Copies of the Retail Installment Sales Contracts, Notices of Repossession and
               Post-Sale Notices for each sampled account;

       2.      Copies of any invoices, receipts, or expense breakdowns showing payments
               between M&T and a repossession-related vendor, or between a sampled customer
               and a repossession-related vendor for each sampled account;

       3.      Payment history information for each sampled account;

       4.      Copies of the AutoIMS Auction Tab and Invoice Tab (as specifically requested by
               Plaintiffs) printed from AutoIMS for each sampled account;2

       5.      Excel spreadsheets containing all data contained in all data fields for each
               sampled account in the same manner as it has already done for the named
               plaintiffs on March 14, 2019;

       6.      An Excel spreadsheet for each class list containing charge-off dates and amounts,
               if any, reflected in M&T’s Columbia Ultimate system;

       7.      An Excel spreadsheet for each class list containing the data displayed in the Locus
               “Sold Expense” Screen;

       8.      An Excel spreadsheet for each class list listing certain bankruptcy information
               requested by Plaintiffs as currently reflected in M&T’s electronic records (if any
               such data is reflected in M&T’s records) for all sampled accounts involving a
               bankruptcy.

       M&T believes the above will provide Plaintiffs more than enough information on each

sampled account to investigate the claims and defenses at issue, without being disproportionate

1
  Personally identifiable information, such as names, addresses, telephone numbers, VINs and
social security numbers will be fully redacted (in the case of documents) or removed (in the case
of data) prior to production. All digits contained in Account/Loan numbers will be redacted (in
the case of documents) or removed (in the case of data) except for the last eight (8) digits.
2
 To the extent that the data contained in these two tabs can be electronically queried, M&T will
provide the same (in lieu of print-outs) in an Excel spreadsheet for each class list.

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to the needs of the case. To date, Plaintiffs failed or refused to identify any other specific

document or piece of information they would need for sampled discovery. Instead, as of June

19, 2020, Plaintiffs have backtracked, now taking the position that rather than narrowing the

scope of sampled discovery to those documents and information relevant to the issues in the

case, M&T must produce the same expansive universe of documents “as [M&T] provided for the

Representative Plaintiffs” for each sampled account.        This is not the purpose of sample

discovery, which, as Judge Lloret previously noted, is to “allow for more efficient, manageable,

and cost effective discovery while supplying the parties with a reasonable basis to extrapolate to

the entire population of the classes, on issues material to the case.” See May 28, 2019 Order,

D.I. 174, at p. 2 (further noting that “addressing each of the objections raised by the plaintiff

would go far beyond what is necessary to obtain a reasonably useful sample, which is all that is

needed”).

       According to Plaintiffs, they cannot proceed with their case or identify documents that

they believe should be subject to class sampling because to do so now, after nearly three years of

litigation, would be “premature” without first, inter alia, having M&T sit for a “transcribed and

recorded” e-discovery conference which would include “remote access” to M&T’s systems (a

request that Plaintiffs have made, that the parties have briefed, and that this Court has refused to




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grant, no less than three times already3), and allowing Plaintiffs to run a forensic search on

mirror images of M&T’s drives and servers. In ruling on this request, the Court found that

Plaintiffs’ pre-sample discovery would “undermine the point of the sampled discovery” and be

“unduly burdensome when measured against the stakes at issue in the case”. See May 28, 2019

Order, D.I. 174, at p. 1. Indeed, M&T has already provided more than enough information for

Plaintiffs to identify what data and documents they need for sampled discovery, including,

among a great deal of other documents and information, (i) numerous discovery responses

detailing information relating to M&T’s systems, (ii) spreadsheets containing all information

contained in all data fields in all relevant systems of record relating to the named plaintiffs, (iii) a

spreadsheet containing all data fields available (even those of which were empty for the named

Plaintiffs) in these systems; (iv) all manuals and user guides in M&T’s possession relating to

those various systems; and (v) hard copy documents and screenshots from the relevant systems

for the named Plaintiffs. These documents were all provided well over a year ago, yet Plaintiffs

still claim to be “in the dark” regarding M&T’s systems that they are unable to identify any

documents that they will need to attempt to prove their case. It simply does not stand to reason

that Plaintiffs need more information on how M&T stores its documents and data, to identify

whether the documents or data itself is relevant.


3
  The three times that this Court refused to grant Plaintiffs’ request for remote access were: (1)
when this Court declined to adopt Plaintiffs’ “Suggested Language Changes to Proposed Order”
(see D.I. No. 125 at ¶ 16), after the parties engaged in extensive briefing on this very issue (see
D.I. 135-136, 141-142); (2) in this Court’s April 1, 2019 order, when, after Plaintiffs again
requested remote access to M&T’s systems (see D.I. 155 at Ex. 1; 161 at p. 10), the Court not
only refused to grant such relief, but also prohibited Plaintiffs from “propound[ing] any
additional discovery of any type” (D.I. 163. at p. 12) (emphasis in original); and (3) in this
Court’s May 28, 2019 order, when the Court ruled that Plaintiffs’ proposed pre-sample discovery
demands (which, yet again, included a request for a transcribed e-discovery conference with
remote access) would “undermine the point of the sampled discovery” and be “unduly
burdensome when measured against the stakes at issue in the case”. May 28, 2019 Order, D.I.
174, at p. 1.

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             C. Timing of Sampling

          Third, as for the timing of sampling discovery, attached as Exhibit C to this Status

Report is M&T’s proposed Second Amended Scheduling Order. M&T is confident that it will be

able to complete its proposed sampling within the timeframes of that proposed order, and will

begin pulling and producing sampled discovery on a rolling basis as soon as Plaintiffs agree to

M&T’s sampling proposal or the Court enters an order adopting the same.

   III.      Remaining Discovery Issues

          Finally, despite M&T’s best efforts, the parties have also been unable to resolve a number

of discovery issues relating to Plaintiffs’ discovery obligations under the Federal Rules.

             A. Depositions of the Named Plaintiffs

          First, Plaintiffs unilaterally cancelled the depositions of Edward Flynn, Catherine Hosick,

Gene Daisey and Douglas Abbott which were originally scheduled for June 20, 2019 and June

21, 2019 (Plaintiffs also unilaterally cancelled the scheduled deposition of M&T’s deponent,

Michael Ryan). Thereafter, on at least six separate occasions, M&T attempted to confer with

Plaintiffs to reschedule these depositions. Plaintiffs failed to provide any meaningful response

for nearly a year, providing new dates for the first time today, June 22, 2020, as M&T was

preparing to file their Status Report.

             B. Inadequate, Incomplete, and Unverified Discovery Responses

          Second, regarding Plaintiffs’ responses to M&T’s First Set of Interrogatories and

Production of Documents dated June 1, 2019, M&T previously identified numerous deficiencies

to Plaintiffs in a meet-and-confer letter dated July 16, 2019.            Notwithstanding repeated




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assurances, in the intervening eleven months, Plaintiffs failed to provide corrected – or even just

verified – responses.4 A very brief sampling of some of those deficiencies is below:

           All four Plaintiffs failed to respond to Interrogatories under oath;

           Plaintiffs provided the exact same omnibus response on behalf of each named
            Plaintiffs to multiple, and different, discovery requests;

           Plaintiff Daisey did not respond to Interrogatories No. 13-17 at all;

           Plaintiff Hosick did not respond to Interrogatories on her own behalf, instead relying
            on facts and affidavits relating to other named Plaintiffs;

           When relying on produced documents, Plaintiffs failed to cite to any bates citation (an
            incredible approach given their arguments in their motions to compel), instead relying
            on “all documents” produced by M&T, making it impossible for M&T to identify
            which documents, out of the tens of thousands of pages of documents produced by
            M&T, that Plaintiffs believe to be responsive;

           Plaintiffs assert various objections based on privilege but fail to provide a privilege
            log;

           Plaintiffs produced just 77 pages of documents (none of them relating to Plaintiff
            Flynn or Hosick, aside from counsel’s retainer agreement), but without any Bates
            citations or labels indicating what the produced document is, where it is from, what
            request it is responsive to, or even which Plaintiff has produced the documents.

       This is just a sampling of the issues outstanding with Plaintiffs’ discovery responses.

Despite repeated assurances - and the passage of nearly a year - no efforts have been made by

Plaintiffs to correct these deficiencies, making it increasingly apparent that no action will be

taken absent the filing of a formal motion to compel.




4
 At 7:53 p.m. this evening, just prior to M&T’s filing of this Status Report, Plaintiffs served
what they allege to be “corrected” responses on behalf of three of the four named Plaintiffs.
Given the last-minute circulation of these responses which M&T has demanded for a year, M&T
has not yet had the opportunity to fully review the same, although an initial review reveals that
many of the issues referenced herein have not been “corrected.”

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   IV.       M&T’s Proposed Second Amended Scheduling Order

         On June 12, 2020, M&T provided Plaintiffs with its proposed Second Amended

Scheduling Order. In response, on Monday, June 15, 2020, Plaintiffs requested the Bank’s

consent to extend the parties’ time to submit their respective Second Amended Scheduling

Order(s) and status report(s) from June 15, 2020 to June 22, 2020 to afford Plaintiffs with a “few

extra days” to digest and meet and confer on M&T’s sampling protocol and proposed Second

Amended Scheduling Order. On June 17, 2020, the Court granted Plaintiffs’ Unopposed Motion

for Extension to Time to Submit Status Reports and Proposed Second Amended Case

Management Order(s). Notwithstanding, Plaintiffs did not respond to M&T’s proposed Second

Amended Scheduling Order until this past weekend on Saturday, June 20, 2020.

         Despite the limited amount of time to do so, M&T responded to Plaintiffs, via letter

attached hereto as Exhibit D, setting forth the reasons why Plaintiffs’ proposal seeks to

unnecessarily prolong fact discovery, ignores the Court’s prior orders and grossly

mischaracterizes the state of e-discovery in this matter to date. As such, M&T respectfully

requests that the Court enter the proposed Second Amended Scheduling Order attached hereto as

Exhibit C.

   V.        Conclusions

         M&T is fully prepared to move this this matter forward in an expeditious and efficient

manner. It has put forth here, and in more detail to Plaintiffs directly, concrete suggestions for

how to appropriately and proportionately litigate this case through sampled discovery towards

class certification.   Without Plaintiffs’ buy-in, however, M&T, and this case, remain at a

standstill. M&T welcomes the opportunity to work with the Court to finalize a reasonable case




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management plan moving forward and is available to answer any additional questions this Court

may have.

Dated: June 22, 2020                              By: /s/ James P. Berg
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